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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


MOBILE PIXELS, INC.,                )                         Case No. 23-cv-12587 ADB
           Plaintiff,               )
                                    )
v.                                  )
                                    )
THE PARTNERSHIPS AND                )
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED ON SCHEDULE “A”,         )                         DEMAND FOR JURY TRIAL
                                    )
            Defendants.             )
____________________________________)


                    [Proposed] SEALED TEMPORARY RESTRAINING ORDER
           Plaintiff Mobile Pixels, Inc. (“Mobile Pixels” or “Plaintiff”) filed an Ex Parte Motion for

Entry of a Temporary Restraining Order Including a Temporary Injunction, a Temporary Asset

Restraint, and Expedited Discovery, and a Motion for Electronic Service of Process Pursuant to

Fed. R. Civ. P. 4(f)(3) (the “Motions”) against the fully interactive e-commerce stores1 operating

under the seller aliases identified in Schedule A to the Complaint (collectively, “Defendants”)

and using at least the online marketplace accounts identified in Schedule A (the “Online

Marketplaces”). After reviewing the Motions and the accompanying record, this Court

GRANTS Mobile Pixels’ Motions as follows.

           This Court finds, in the absence of adversarial presentation, that it has personal

jurisdiction over Defendants because Defendants directly target their business activities toward

consumers in the United States, including Massachusetts. Specifically, Mobile Pixels has

provided a basis to conclude that Defendants have targeted sales to Massachusetts residents by

setting up and operating e-commerce stores that target United States consumers using one or


1
    The e-commerce store URL’s are listed on Schedule A to the Complaint under the Online Marketplaces.
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more seller aliases, offer shipping to the United States, including Massachusetts, and have sold

the same products that infringe directly and/or indirectly Mobile Pixels’ United States design

patent (the “Mobile Pixels Design”) to residents of Massachusetts. In this case, Mobile Pixels

has presented screenshot evidence that each Defendant e-commerce store is reaching out to do

business with Massachusetts residents by operating one or more commercial, interactive internet

stores through which Massachusetts residents can and do purchase the same products that

infringe directly and/or indirectly the Mobile Pixels Design. See Ex. 1 to the Complaint, which

includes screenshot evidence confirming that each Defendant internet store does stand ready,

willing and able to ship its infringing goods to customers in Massachusetts that infringe, directly

and/or indirectly, the Mobile Pixels Design.

       This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

the Federal Rules of Civil Procedure is appropriate because Mobile Pixels has presented specific

facts in the Declaration of Xiaoliang Yao in support of the Motions and accompanying evidence

clearly showing that immediate and irreparable injury, loss, or damage will result to the movant

before the adverse party can be heard in opposition. Specifically, in the absence of an ex parte

Order, Defendants could and likely would move any assets from accounts in financial institutions

under this Court’s jurisdiction to off-shore accounts. Accordingly, this Court orders that:

               1. Defendants, their officers, agents, servants, employees, attorneys, and all

                   persons acting for, with, by, through, under or in active concert with them be

                   temporarily enjoined and restrained from:

                       a. Offering for sale, selling, and/or importing any products not authorized

                          by Mobile Pixels and that include any reproduction, copy, or colorable

                          imitation of the design claimed in the Mobile Pixels Design;
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            b. Aiding, abetting, contributing to, or otherwise assisting anyone in

                infringing upon the Mobile Pixels Design; and

            c. Effecting assignments or transfers, forming new entities or

                associations or utilizing any other device for the purpose of

                circumventing or otherwise avoiding the prohibitions set forth in

                Subparagraphs (a) and (b).

     2. Defendants shall not transfer or dispose of any money or other of Defendants’

        assets in any of Defendants’ financial accounts.

     3. Mobile Pixels is authorized to issue expedited discovery to Defendants,

        pursuant to Federal Rules of Civil Procedure 33, 34, and 36 related to:

            a. The identities and locations of Defendants, their officers, agents,

                servants, employees, attorneys, and any persons acting in active

                concert or participating with them, including all known contact

                information and all associated e-mail addresses;

            b. The nature of Defendants’ operations and all associated sales, methods

                of payment for services, and financial information, including without

                limitation identifying accounts, including Defendants’ sales and listing

                history related to their respective Online Marketplaces; and

            c. Any financial accounts owned or controlled by Defendants, including

                their officers, agents, servants, employees, attorneys, and any persons

                acting in active concert or participation with them, including such

                accounts residing with or under the control of any banks, savings and

                loan associations, payment processors or other financial institutions,
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                including, without limitation, PayPal, Inc. (“PayPal”), eBay, Inc.

                (“eBay”), Alipay, ContextLogic Inc. d/b/a Wish.com (“Wish.com”),

                Alibaba Group Holding Ltd. (“Alibaba”), Ant Financial Services

                Group (“Ant Financial”), Amazon Pay, DHgate, or other merchant

                account providers, payment providers, third party processors, and

                credit card associations (e.g., MasterCard and Visa).

     4. Upon Mobile Pixels’ request, any third party with actual notice of this Order

        who is providing services for any of the Defendants, or in connection with any

        of Defendants’ Online Marketplaces, Including, without limitation, any online

        marketplace platforms such as Amazon.com (collectively, “Third Party

        Providers”), shall, within seven (7) calendar days after receipt of such notice,

        provide to Mobile Pixels expedited discovery, limited to copies of documents

        and records in such persons’ or entities’ possession and control sufficient to

        determine:

            a. The identities and locations of Defendants, their officers, agents,

                servants, employees, attorneys, and any persons acting in active

                concert or participation with them, including all known contact

                information and all associated email addresses;

            b. The nature of Defendants’ operations and all associated sales, methods

                of payment for services, and financial information, including without

                limitation identifying information associated with the Online

                Marketplaces and Defendants’ financial accounts, including
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                Defendants; sales and listing history related to their respective Inline

                Marketplaces; and

            c. Any financial accounts owned or controlled by Defendants, including

                their officers, agents, servants, employees, attorneys, and any persons

                acting in active concert or participation with them including such

                accounts residing with or under the control of any banks, savings and

                loan associations, payment processors or other financial institutions,

                including without limitation PayPal, Alipay, eBay, Wish.com, Alibaba,

                Ant Financial, Amazon Pay, DHGate, or other merchant account

                providers, payment providers, third party processors, and credit card

                associations (e.g., Mastercard and VISA).

     5. Upon Mobile Pixels’ request, those with notice of this Order, including Third

        Party Providers as defined in Paragraph 4, shall within seven (7) calendar days

        after receipt of such notice, disable and cease displaying any advertisements

        used by or associated with Defendants in connection with the sale of

        infringing goods using the Mobile Pixels Design.

     6. Any Third Party Providers, including without limitation PayPal, Alipay, eBay,

        Alibaba, Ant Financial, Wish.com, Amazon Pay, and DHGate shall, within

        seven (7) calendar days of receipt of this Order:

            a. Locate all accounts and funds connected to Defendants’ seller aliases,

                including but not limited to any financial accounts connected to the

                information listed in Schedule A of the Complaint, the email addresses
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                identified in Exhibit 1 to the Complaint, and any email addresses

                provided for Defendants by third parties; and

            b. Restrain and enjoin any such accounts or funds from transferring or

                disposing of any money or other of Defendants’ assets until further

                order by this Court.

     7. Mobile Pixels may provide notice of the proceedings in this case to

        Defendants, including notice of the preliminary injunction hearing, service of

        process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by

        electronically publishing a link to the Complaint, this Order, and other

        relevant documents on a website and by sending an email with a link to said

        website to the email addresses identified in Exhibit 1 to the Complaint and

        any email addresses provided for Defendants by third parties. The Clerk of

        the Court is directed to issue a single original summons in the name of “The

        Partnerships and All Other Defendants identified in the Complaint” that shall

        apply to all Defendants. The combination of providing notice via electronic

        publication and email, along with any notice that Defendants receive from

        payment processors, shall constitute notice reasonably calculated under all

        circumstances to apprise Defendants of the pendency of the action and afford

        them the opportunity to present their objections.

     8. Mobile Pixels must provide notice to Defendants of any motion for

        preliminary injunction as required by Rule 65(a)(1).
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     9. Exhibit 1 to the Complaint, Schedule A to the Complaint, and this Order shall

        remain sealed until further order by this Court or until the Order expires,

        whichever occurs earlier.

     10. Within seven (7) calendar days of entry of this Order, Mobile Pixels shall

        deposit with the Court ten thousand dollars ($10,000.00), either cash or surety

        bond, as security, which amount has, in the absence of adversarial testing,

        been deemed adequate for the payment of such damages as any person may be

        entitled to recover as a result of a wrongful restraint hereunder.

     11. Any Defendants that are subject to this Order may appear and move to

        dissolve or modify the Order as permitted by and in compliance with the

        Federal Rules of Civil Procedure and the District of Massachusetts Local

        Rules. Any third party impacted by this Order may move for appropriate

        relief.

     12. This Temporary Restraining Order without notice is entered at _______ on

        this __th day of November 2023 and shall remain in effect for fourteen (14)

        calendar days. Any motion to extend this Order must be filed by November

        ___th, 2023.



                                           ____________________________________

                                           Allison D. Burroughs
                                           United States District Judge
